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                   UNITED STATES DISTRICT COURT
                                  District of Kansas
                                    (Topeka Docket)


UNITED STATES OF AMERICA,

                            Plaintiff,

              v.                                  CASE NO. 22-40055-TC

ROGER GOLUBSKI,

                            Defendant.




                          SEALED INDICTMENT

       THE GRAND JURY CHARGES:

                                         COUNT 1

                            DEPRIVATION OF CIVIL RIGHTS
                                   [18 U.S.C. § 242]

       In or about May or June 1998, in the District of Kansas, the defendant,

                                 ROGER GOLUBSKI,

while acting under color of law, did willfully deprive S.K., whose identity is known to

the Grand Jury, of the right, secured and protected by the Constitution and laws of the

United States, not to be deprived of liberty without due process of law, which includes

the right not to be deprived of bodily integrity. Specifically, while in GOLUBSKI’S
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vehicle, GOLUBSKI sexually assaulted S.K. by digitally penetrating S.K. and making

S.K. perform oral sex on him, all without S.K.’s consent. GOLUBSKI’s conduct

included aggravated sexual abuse and an attempt to commit aggravated sexual abuse, and

included kidnapping and an attempt to commit kidnapping.

       In violation of Title 18, United States Code, Section 242.



                                       COUNT 2

                            DEPRIVATION OF CIVIL RIGHTS
                                   [18 U.S.C. § 242]

       In or about May or June 1998, in the District of Kansas, the defendant,

                                 ROGER GOLUBSKI,

while acting under color of law, did willfully deprive S.K., whose identity is known to

the Grand Jury, of the right, secured and protected by the Constitution and laws of the

United States, not to be deprived of liberty without due process of law, which includes

the right not to be deprived of bodily integrity. Specifically, while in GOLUBSKI’S

vehicle, GOLUBSKI sexually assaulted S.K. by genitally penetrating S.K. without S.K.’s

consent. GOLUBSKI’s conduct included aggravated sexual abuse and an attempt to

commit aggravated sexual abuse, and included kidnapping and an attempt to commit

kidnapping.

       All in violation of Title 18, United States Code, Section 242.




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                                        COUNT 3

                             DEPRIVATION OF CIVIL RIGHTS
                                    [18 U.S.C. § 242]

       Between in or about June 1998 and December 2001, both dates being approximate

and inclusive, in the District of Kansas, the defendant,

                                  ROGER GOLUBSKI,

while acting under color of law, did willfully deprive S.K., whose identity is known to

the Grand Jury, of the right, secured and protected by the Constitution and laws of the

United States, not to be deprived of liberty without due process of law, which includes

the right not to be deprived of bodily integrity. Specifically, while in and next to

GOLUBSKI’s vehicle, GOLUBSKI on multiple occasions performed oral sex on S.K.,

made S.K. perform oral sex on him, digitally penetrated S.K., and genitally penetrated

S.K., all without S.K.’s consent. GOLUBSKI’s conduct included aggravated sexual

abuse and an attempt to commit aggravated sexual abuse, and included kidnapping and an

attempt to commit kidnapping.

       All in violation of Title 18, United States Code, Section 242.



                                        COUNT 4

                             DEPRIVATION OF CIVIL RIGHTS
                                    [18 U.S.C. § 242]

       In or about August 1999, in the District of Kansas, the defendant,

                                  ROGER GOLUBSKI,

while acting under color of law, did willfully deprive O.W., whose identity is known to

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the Grand Jury, of the right, secured and protected by the Constitution and laws of the

United States, not to be deprived of liberty without due process of law, which includes

the right not to be deprived of bodily integrity. Specifically, while in O.W.’s house,

GOLUBSKI genitally penetrated O.W. without O.W.’s consent. GOLUBSKI’s conduct

included aggravated sexual abuse and an attempt to commit aggravated sexual abuse.

       In violation of Title 18, United States Code, Section 242.



                                        COUNT 5

                            DEPRIVATION OF CIVIL RIGHTS
                                   [18 U.S.C. § 242]

       Between in or about August 1999 and December 2002, both dates being

approximate and inclusive, in the District of Kansas, the defendant,

                                 ROGER GOLUBSKI,

while acting under color of law, did willfully deprive O.W., whose identity is known to

the Grand Jury, of the right, secured and protected by the Constitution and laws of the

United States, not to be deprived of liberty without due process of law, which includes

the right not to be deprived of bodily integrity. Specifically, while in GOLUBSKI’s

vehicle, GOLUBSKI made O.W. perform oral sex on him without O.W.’s consent.

GOLUBSKI’s conduct included aggravated sexual abuse and an attempt to commit

aggravated sexual abuse, and included kidnapping and an attempt to commit kidnapping.

       In violation of Title 18, United States Code, Section 242.




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                                        COUNT 6

                            DEPRIVATION OF CIVIL RIGHTS
                                   [18 U.S.C. § 242]

       Between in or about September 1999 and December 2002, both dates being

approximate and inclusive, in the District of Kansas, the defendant,

                                 ROGER GOLUBSKI,

while acting under color of law, did willfully deprive O.W., whose identity is known to

the Grand Jury, of the right, secured and protected by the Constitution and laws of the

United States, not to be deprived of liberty without due process of law, which includes

the right not to be deprived of bodily integrity. Specifically, while in O.W.’s house,

GOLUBSKI on multiple occasions made O.W. perform oral sex on him and genitally

penetrated O.W., all without O.W.’s consent. GOLUBSKI’s conduct included

aggravated sexual abuse and an attempt to commit aggravated sexual abuse, and included

kidnapping and an attempt to commit kidnapping.

       In violation of Title 18, United States Code, Section 242.




                                          A TRUE BILL.


September 14, 2022                        s/Foreperson                x
DATE                                      FOREPERSON OF THE GRAND JURY


DUSTON J. SLINKARD
UNITED STATES ATTORNEY


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By: /s/ Stephen A. Hunting
Stephen A. Hunting
Assistant United States Attorney
District of Kansas
444 Quincy St., Suite 290
Topeka, Kansas 66683
Ph: (785) 295-2850
Fax: (785) 295-2853
Email: stephen.hunting@usdoj.gov
Ks. S. Ct. No. 21648

KRISTEN CLARKE
Assistant Attorney General
Civil Rights Division

By: /s/ Tara Allison
Tara Allison
Trial Attorney, Criminal Section, Civil Rights Division
United States Department of Justice
150 M St. NE, Suite 7.1132
Washington, DC 20002
Ph: (202) 598-7882
Email: tara.allison@usdoj.gov
NY Bar No. 5666029




       IT IS REQUESTED THAT THE TRIAL BE HELD IN TOPEKA, KANSAS




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                                   PENALTIES


Counts 1 through 6: Deprivation of Civil Rights, 18 U.S.C. § 242

   • Punishable by any term of years of imprisonment or life. 18 U.S.C. § 242.

   • A term of supervised release of not more than five (5) years. 18 U.S.C. §
     3583(b)(1).

   • A fine not to exceed $250,00.00. 18 U.S.C. § 3571(b)(3).

   • A mandatory special assessment of $100.00 per count. 18 U.S.C. §
     3013(a)(2)(A).

   • Forfeiture.




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